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                                                                                          3/30/2021


                                                U.S. Department of Justice        At: 8:30________.m
                                                                                  WILLIAM T. WALSH
                                                United States Attorney
                                                District of New Jersey                    CLERK


CRAIG CARPENITO                                 402 East State Street, Room 430   (609) 989-2190
United States Attorney                          Trenton, New Jersey 08608

AER/PL AGR
2020R00653


                                                September 21, 2020

Benjamin J. West, Esq.
Federal Public Defender’s Office
Station Plaza #4, 4th Floor
22 S. Clinton Avenue
Trenton, New Jersey 08609

                  Re: Plea Agreement with Justin D. Spry /21-260(BRM)

Dear Mr. West:
       This letter sets forth the plea agreement between your client, Justin D.
Spry (“JUSTIN SPRY”), and the United States Attorney for the District of New
Jersey (“this Office”). The Government’s offer to enter into this plea agreement
will expire on October 13, 2020, if it is not accepted in writing by that date.

Charge

      Conditioned on the understandings specified below, this Office will
accept a guilty plea from JUSTIN SPRY to a one-count Information charging
JUSTIN SPRY with attempting to obstruct, impede, or interfere with law
enforcement officers engaged in their official duties incident to and during the
commission of a civil disorder, adversely affecting commerce, in violation of
18 U.S.C. § 231(a)(3). If JUSTIN SPRY enters a guilty plea and is sentenced on
this charge, and otherwise fully complies with all of the terms of this
agreement, this Office will not initiate any further criminal charges against
JUSTIN SPRY for his conduct during the civil disorder in Trenton, New Jersey,
on May 31, 2020, as set forth in the criminal complaint filed in United States v.
Justin D. Spry, et al., 20-MJ-3013. However, in the event that a guilty plea in
this matter is not entered for any reason or the judgment of conviction entered
as a result of this guilty plea does not remain in full force and effect, JUSTIN
SPRY agrees that any dismissed charges and any other charges that are not
time-barred by the applicable statute of limitations on the date that this
agreement is signed by JUSTIN SPRY may be commenced against him,
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notwithstanding the expiration of the limitations period after JUSTIN SPRY
signs the agreement.

Sentencing

      The violation of 18 U.S.C. § 231(a)(3) to which JUSTIN SPRY agrees to
plead guilty in the Information carries a statutory maximum sentence of five
years in prison and a statutory maximum fine equal to the greatest of: (1)
$250,000, or (2) twice the gross amount of any pecuniary gain that any
persons derived from the offense, or (3) twice the gross amount of any
pecuniary loss sustained by any victims of the offense. Fines imposed by the
sentencing judge may be subject to the payment of interest.

       The sentence to be imposed upon JUSTIN SPRY is within the sole
discretion of the sentencing judge, subject to the provisions of the Sentencing
Reform Act, 18 U.S.C. §§ 3551-3742, and the sentencing judge’s consideration
of the United States Sentencing Guidelines. The United States Sentencing
Guidelines are advisory, not mandatory. The sentencing judge may impose any
reasonable sentence up to and including the statutory maximum term of
imprisonment and the maximum statutory fine. This Office cannot and does
not make any representation or promise as to what guideline range may be
found by the sentencing judge, or as to what sentence JUSTIN SPRY ultimately
will receive.

       Further, in addition to imposing any other penalty on JUSTIN SPRY, the
sentencing judge: (1) will order SPRY to pay an assessment of $100, pursuant
to 18 U.S.C. § 3013, which assessment must be paid by the date of sentencing;
(2) may order SPRY to pay restitution pursuant to 18 U.S.C. §§ 3663 et seq.;
(3) may require SPRY, pursuant to 18 U.S.C. § 3583, to serve a term of
supervised release of not more than three (3) years, which will begin at the
expiration of any term of imprisonment imposed. Should SPRY be placed on a
term of supervised release and subsequently violate any of the conditions of
supervised release before the expiration of its term, SPRY may be sentenced to
not more than two (2) years’ imprisonment in addition to any prison term
previously imposed, regardless of the statutory maximum term of
imprisonment set forth above and without credit for time previously served on
post-release supervision, and may be sentenced to an additional term of
supervised release.

Rights of This Office Regarding Sentencing

       Except as otherwise provided in this agreement, this Office reserves its
right to take any position with respect to the appropriate sentence to be
imposed on JUSTIN SPRY by the sentencing judge, to correct any
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misstatements relating to the sentencing proceedings, and to provide the
sentencing judge and the United States Probation Office all law and
information relevant to sentencing, favorable or otherwise. In addition, this
Office may inform the sentencing judge and the United States Probation Office
of: (1) this agreement; and (2) the full nature and extent of JUSTIN SPRY’s
activities and relevant conduct with respect to this case.

Stipulations

       This Office and JUSTIN SPRY agree to stipulate at sentencing to the
statements set forth in the attached Schedule A, which hereby is made a part
of this plea agreement. This agreement to stipulate, however, cannot and does
not bind the sentencing judge, who may make independent factual findings
and may reject any or all of the stipulations entered into by the parties. To the
extent that the parties do not stipulate to a particular fact or legal conclusion,
each reserves the right to argue the existence of and the effect of any such fact
or conclusion upon the sentence. Moreover, this agreement to stipulate on the
part of this Office is based on the information and evidence that this Office
possesses as of the date of this agreement. Thus, if this Office obtains or
receives additional evidence or information prior to sentencing that it
determines to be credible and to be materially in conflict with any stipulation in
the attached Schedule A, this Office shall not be bound by any such
stipulation. A determination that any stipulation is not binding shall not
release either this Office or JUSTIN SPRY from any other portion of this
agreement, including any other stipulation. If the sentencing court rejects a
stipulation, both parties reserve the right to argue on appeal or at post-
sentencing proceedings that the sentencing court was within its discretion and
authority to do so. These stipulations do not restrict this Office’s right to
respond to questions from the Court and to correct misinformation that has
been provided to the Court.

Waiver of Appeal and Post-Sentencing Rights

      As set forth in Schedule A, this Office and JUSTIN SPRY waive certain
rights to file an appeal, collateral attack, writ, or motion after sentencing,
including but not limited to an appeal under 18 U.S.C. § 3742 or a motion
under 28 U.S.C. § 2255.

Immigration Consequences

      JUSTIN SPRY understands that, if he is not a citizen of the United
States, his guilty plea to the charged offenses will likely result in his being
subject to immigration proceedings and removed from the United States by
making him deportable, excludable, or inadmissible, or ending his
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naturalization. JUSTIN SPRY understands that the immigration consequences
of this plea will be imposed in a separate proceeding before the immigration
authorities. JUSTIN SPRY wants and agrees to plead guilty to the charged
offenses regardless of any immigration consequences of this plea, even if this
plea will cause his removal from the United States. JUSTIN SPRY understands
that he is bound by his guilty plea regardless of any immigration consequences
of the plea. Accordingly, JUSTIN SPRY waives any and all challenges to his
guilty plea and to his sentence based on any immigration consequences, and
agrees not to seek to withdraw his guilty plea, or to file a direct appeal or any
kind of collateral attack challenging his guilty plea, conviction, or sentence,
based on any immigration consequences of his guilty plea.

Other Provisions

      This agreement is limited to the United States Attorney’s Office for the
District of New Jersey and cannot bind other federal, state, or local authorities.
However, this Office will bring this agreement to the attention of other
prosecuting offices, if requested to do so.

      This agreement was reached without regard to any civil or administrative
matters that may be pending or commenced in the future against JUSTIN
SPRY. This agreement does not prohibit the United States, any agency thereof
(including the Internal Revenue Service and Immigration and Customs
Enforcement) or any third party from initiating or prosecuting any civil or
administrative proceeding against JUSTIN SPRY.

       No provision of this agreement shall preclude JUSTIN SPRY from
pursuing in an appropriate forum, when permitted by law, an appeal, collateral
attack, writ, or motion claiming that JUSTIN SPRY received constitutionally
ineffective assistance of counsel.




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      I have received this letter from my attorney, Benjamin J. West, Esq.
I have read it. My attorney and I have discussed it and all of its provisions,
including those addressing the charge, sentencing, stipulations, waiver, and
immigration consequences. I understand this letter fully. I hereby accept its
terms and conditions and acknowledge that it constitutes the plea agreement
between the parties. I understand that no additional promises, agreements, or
conditions have been made or will be made unless set forth in writing and
signed by the parties. I want to plead guilty pursuant to this plea agreement.

AGREED AND ACCEPTED:



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                                                 Date: 
Justin D. Spry



      I have discussed with my client this plea agreement and all of its
provisions, including those addressing the charge, sentencing, stipulations,
waiver, and immigration consequences. My client understands this plea
agreement fully and wants to plead guilty pursuant to it.


 V%HQMDPLQ:HVW
                                                 Date: 
Benjamin J. West, Esq.




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                       Plea Agreement with Justin D. Spry

                                    Schedule A

       1.    This Office and Justin D. Spry (“JUSTIN SPRY”) recognize that the
United States Sentencing Guidelines are not binding upon the Court. This
Office and JUSTIN SPRY nevertheless agree to the stipulations set forth herein
and agree that the Court should sentence JUSTIN SPRY within the Guidelines
range that results from the total Guidelines Offense Level set forth below. This
Office and JUSTIN SPRY further agree that neither party will argue for the
imposition of a sentence outside the Guidelines range that results from the
agreed total Guidelines Offense Level.

      2.    On May 31, 2020, JUSTIN SPRY maliciously attempted to damage
and destroy, by means of fire, a vehicle owned and possessed by an
organization receiving Federal financial assistance, namely, a Trenton Police
Department vehicle bearing New Jersey license plate number MG68426.
See 18 U.S.C. § 844(f)(1); U.S.S.G. § 1B1.2(a).

       3.     The version of the United States Sentencing Guidelines effective
November 1, 2018, applies in this case. The guideline applicable to the
18 U.S.C. § 231(a)(3) charge in the Information to which JUSTIN SPRY agrees
to plead guilty is U.S.S.G. § 2K1.4. See U.S.S.G. § 1B1.2(a); 18 U.S.C.
§ 844(f)(1); see also U.S.S.G. § 2X5.1.

       4.    The Base Offense Level is 20 because the defendant created a
substantial risk of death or serious bodily injury to any person other than a
participant in the offense, including creating that risk to fire fighters and other
emergency and law enforcement personnel who responded to or investigated
the offense. U.S.S.G. § 2K1.4(a)(2)(A) & Application Note 2.

      5.     Except as otherwise set forth herein, no other (i) specific offense
characteristics, (ii) Chapter 2 guidelines, including but not limited to U.S.S.G.
§ 2X1.1(b)(1), and/or (iii) Chapter 3 guidelines apply.

      6.    As of the date of this letter, JUSTIN SPRY has clearly demonstrated
a recognition and affirmative acceptance of personal responsibility for the
offense charged. Therefore, if JUSTIN SPRY’s acceptance of responsibility
continues through the date of sentencing, a downward adjustment of 2 levels
for acceptance of responsibility will be appropriate. See U.S.S.G. § 3E1.1(a) &
Application Note 3.

      7.     As of the date of this letter, JUSTIN SPRY has assisted authorities
in the investigation or prosecution of his own misconduct by timely notifying
authorities of his intention to enter a plea of guilty, thereby permitting this
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Office to avoid preparing for trial and permitting this Office and the court to
allocate their resources efficiently. At sentencing, this Office will move for a
further 1-point reduction in JUSTIN SPRY’s offense level pursuant to U.S.S.G.
§ 3E1.1(b) if the following conditions are met: (a) JUSTIN SPRY enters a plea
pursuant to this agreement, (b) this Office in its discretion determines that
JUSTIN SPRY’s acceptance of responsibility has continued through the date of
sentencing and JUSTIN SPRY therefore qualifies for a 2-point reduction for
acceptance of responsibility pursuant to U.S.S.G. § 3E1.1(a), and (c) JUSTIN
SPRY’s offense level under the Guidelines prior to the operation of § 3E1.1(a) is
16 or greater.

      8.     In accordance with the above, the total Guidelines Offense Level
applicable to JUSTIN SPRY is 17.

       9.    The parties agree not to seek or argue for any upward or downward
departure, adjustment or variance not set forth herein. The parties further
agree that a sentence within the Guidelines range that results from the agreed
total Guidelines Offense Level is reasonable.

      10. JUSTIN SPRY knows that he has and, except as noted below in
this paragraph, voluntarily waives, the right to file any appeal, any collateral
attack, or any other writ or motion, including but not limited to an appeal
under 18 U.S.C. § 3742 or a motion under 28 U.S.C. § 2255, which challenges
the sentence imposed by the sentencing court if that sentence falls within or
below the Guidelines range that results from the agreed total Guidelines
Offense Level of 17. This Office will not file any appeal, motion, or writ which
challenges the sentence imposed by the sentencing court if that sentence falls
within or above the Guidelines range that results from the agreed total
Guidelines Offense Level of 17. The provisions of this paragraph are binding on
the parties even if the Court employs a Guidelines analysis different from that
stipulated to herein. Furthermore, if the sentencing court accepts a
stipulation, both parties waive the right to file an appeal, collateral attack, writ,
or motion claiming that the sentencing court erred in doing so.

      11. Both parties reserve the right to oppose or move to dismiss any
appeal, collateral attack, writ, or motion barred by the preceding paragraph
and to file or to oppose any appeal, collateral attack, writ or motion not barred
by the preceding paragraph.




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